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13
                            UNITED STATES DISTRICT COURT
14
                           CENTRAL DISTRICT OF CALIFORNIA
15                               WESTERN DIVISION
16
      PCR DISTRIBUTING CO., a company Case No. 2:24-cv-07453- FLA-AJR
17    organized under the laws of California,
18
                     Plaintiff              JOINT STATUS REPORT
19    vs.
20
      JOHN DOES 1-20 d/b/a
21    NHENTAI.NET
                                            Judge: Honorable A. Joel Richlin
22
                    Defendants
23

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 1          Pursuant to the October 30, 2024 Order of the Court (Dkt. No. 23), PCR
 2 Distributing, Co.’s (“Plaintiff” or “PCR”) and the entity that owns www.nhentai.net

 3 (“Nhentai.net”) hereby file this Joint Status Report regarding “service of the

 4 Complaint, the timing of a responsive pleading, whether there are any disputes

 5 related to discovery, and anything else the parties would like to raise before the

 6 Court.” Dkt. No. 23. The parties have met and conferred regarding this case and the

 7 matters addressed herein both in person on the day of the October 30, 2024 hearing

 8 and via email correspondence since that time. The parties report their respective

 9 positions below.

10          Nhentai.net Summary of Current Status. In short, Nhentai.net requests
11 sixty (60) days to answer or otherwise respond to the Complaint per Fed. R. Civ. P.

12 4, to permit the filing/re-urging of contemporaneous motions for protections, and

13 that the Court deny Plaintiff’s requests for early discovery including Plaintiff’s

14 proposed order attached here. Plaintiff creates a new, false narrative herein regarding

15 the entity for whom undersigned counsel has agreed to respond to Plaintiff’s

16 Complaint. This appears to be another attempt to try to justify improper early

17 discovery. It is unavailing, as counsel for Nhentai.net has made clear that there is

18 one entity that owns the website. As stated in Court, this entity is a Delaware entity

19 and it is owner and operator of the website and not just owner of a domain as

20 Plaintiff’s counsel suggests. PCR Summary of Current Status. Plaintiff would

21 remind the Court that it took Plaintiff’s Motion for Early Discovery (the “Motion”)

22 under submission, and Defendant’s counsel’s submission herein proves why the

23 motion should be granted.         In short, Plaintiff’s Complaint and the Motion
24 consistently request discovery to identify the Defendants as identified in the

25 Complaint, including the operators of nHentai.net and those doing business as that

26 domain -- not just the owner of the domain name. These must be identified by name,
27 immediately. If Defendant wishes to file that identification under seal, it can, but

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 1 Plaintiffs are entitled to know so they can serve the complaint and consider

 2 jursidction. The Defendants necessary to receive service of this Complaint can be

 3 identified by the logfiles and other information requested in Plaintiff’s Motion and

 4 Proposed Order. Defendant is offering to identify only the owner of the domain

 5 name. This is similar to identifying the registrant of a car used in a bank robbery –

 6 the registration doesn’t necessarily identify all of the criminals in the car. To get all

 7 parties before the Court, Plaintiff’s Motion should be granted. In fact, with this

 8 filing, Plaintiff submits a redline of the proposed order that is narrower than that

 9 attached to the Motion.

10          As noted below in footnote 1, Defendant is taking the position that the
11 distinction between “owner” and “operator” arose today and is a “false narrative.”

12 This accusation was made after 7:00 pm PST today.              Defendant’s hairsplitting
13 ignores the point that it is still not offering to identify the owner or operator by name,

14 publicly, as would be required. There is no motion pending to identify the owner by

15 name only to Plaintiff. The Court should simply order the discovery requested, and

16 Defendant can bring whatever motions it wants once the information is revealed to

17 Plaintiff.

18
            A.     SERVICE OF THE COMPLAINT                        AND      TIMING       OF
19                 RESPONSIVE PLEADING
20          Nhentai.net’s Position: At the October 30, 2024 hearing and thereafter in

21 discussions and correspondence with Plaintiff’s counsel, undersigned counsel has

22 agreed to accept service of the Complaint (Dkt. No 1) on behalf of the entity that

23 owns the website www.nhentai.net with responsive pleadings filed in that name, i.e.,

24 not disclosing the name of the entity. It is Nhentai.net’s understanding from the

25 recording of the October 30, 2024 proceedings that the Court agreed to permit

26 Nhentai.net to do so and also contemporaneously move the Court for protection
27 and/or for the entity to proceed anonymously/via a pseudonym.

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 1          To that end, counsel for Nhentai.net prepared and sent counsel for PCR a
 2 standard waiver of service form pursuant to Federal Rule of Civil Procedure 4. This

 3 rule and related form waiver permit a party sixty (60) days to answer or otherwise

 4 respond to a complaint and summons. This is reasonable in light of the

 5 circumstances, especially since counsel for Plaintiff was aware that Nhentai.net was

 6 represented by counsel and failed to notify counsel of the filing of the Complaint.

 7 Had Plaintiff’s counsel done so and not persisted with its overly broad, improper,

 8 and unnecessary requests for early discovery, sixty days from Plaintiff’s initial

 9 filings in this case would have already passed. It is painfully clear that Plaintiff does

10 not want counsel for Nhentai.net to accept/waive service, but rather is continuing to

11 focus on seeking highly improper and impermissible early discovery. Nhentai.net

12 respectfully asks this Court to permit it sixty (60) days to answer or otherwise

13 respond to the Complaint as contemplated by Fed. R. Civ. P. 4.

14          Counsel for PCR has proposed that “Defendant answer the complaint within
15 30 days in the name of all Defendants along the chain. No motions.” See Exhibit A

16 hereto, which is a true and correct copy of email correspondence in this matter.

17 Counsel for Nhentai.net has only agreed to answer or otherwise respond to the

18 Complaint on behalf of the single entity that owns the website. Nhentai.net has not

19 and cannot agree to answer Plaintiff’s frivolous Complaint without the ability to file

20 any applicable motions.

21          And as mentioned in the prior briefing with the Court, any further information
22 or possible future “Doe” defendants may be identified in the ordinary course of

23 discovery if this case moves forward. Counsel for Nhentai.net cannot know who

24 Plaintiff would name as potential defendants in this suit, especially in light of the

25 highly frivolous and questionable allegations against even the entity that owns the

26 website. And as mentioned in the briefing before the Court relating to early
27 discovery, the alter ego allegations included by Plaintiff in the Complaint are even

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 1 more frivolous and cannot justify early discovery.

 2          Plaintiff PCR Distributing’s Position: Plaintiff’s position is simple: it needs
 3 early discovery to effect service on all Defendants. In this Status Report, Defendant

 4 carefully identifies itself as “the entity that owns www.nhentai.net (“Nhentai.net”).”

 5          The Complaint in this matter identifies “Defendants” as “the owners,
 6 operators, shareholder, executives, and/or affiliates of nHentai.” (Complaint, ¶ 33:9-

 7 11.) In turn, “nhentai” is identified as Defendants who “do business as, own and

 8 operate nHentai.net.” (Complaint, ¶ 5:19.) At the hearing in this matter, when

 9 pressed, Defendant’s counsel would only that the entity that owns the website is a

10 “Delaware corporation” and that it had some sort of presence in Delaware. Plaintiff

11 still needs to know the identity of the operator of the website and who is doing

12 business with the website.

13          In this filing, filing Defendant claims that it only represents the “owner” of
14 nhentai.net for purposes of service. This is actually contradicted by their prior papers

15 in this matter where a brief begins was filed by the same counsel on behalf of “the

16 operators of the nhentai.net website.” (Dkt. No. 21 at 2:1-4.) Early discovery

17 requires a showing of good cause, and courts generally find the requisite good cause

18 where there is a need to identify Doe defendants, some demonstrated ongoing harm

19 or likely destruction of evidence, or a challenge to personal jurisdiction. Villalobos

20 v. Blue Shield of Cal. Life & Health Ins. Co., 2021 U.S. Dist. LEXIS 253175, at *3-

21 4 (C.D. Cal. Nov. 2, 2021) (citing United States ex rel. Brown v. Celgene Corp., No.

22 CV 10-3165-GHK (SSx), 2014 U.S. Dist. LEXIS 194470, 2014 WL 12588280, at

23 *2 (C.D. Cal. Mar. 21, 2014).).

24          Tellingly, just today, Defendant refused to verify that the party it will accept
25 service for (the party that owns nhentai.net) is not the same as the Defendants who

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 1 “operate” or “do business” as nhentai.net. 1 Indeed, Defendant’s counsel stated that

 2 “our client is clearly not admitting any infringement,” i.e., identifying the operator

 3 of the site would be tantamount to identifying an infringer. (See Plaintiff’s Exhibit

 4 1 hereto, which is a true and correct copy of email correspondence in this matter.)

 5            Here, the parties’ prior attempts to settle, followed more infringement and the
 6 gamesmanship already exhibited by Defendant in agreeing to accept service for the

 7 “owner” of a website (itself identified only as a Delaware corporation), meet the

 8 standard of “ongoing harm.” Plus, any injunctive relief would require personal

 9 jurisdiction over Defendants.

10            To further elaborate, Plaintiff needs:
11            1. Identification of Operators and Ownership: It is critical for the effective
12 prosecution of this case that Plaintiff clearly identify the entities and individuals

13 behind nhentai.net and nhentai.to. Plaintiff requires reliable identification of owners

14 and operators to ensure that it is engaging the correct parties in these proceedings

15 and that any judgments or settlements are enforceable.

16            2. Required Details: Plaintiff requires (i) Company and Individual Names:
17 the company and individual names associated with the operation and ownership of

18 the websites; (ii) Physical and Email Addresses: Available physical and email

19 addresses of the entities or individuals responsible for the operation of the websites;

20 (iii) Account Information: Detailed account information related to the services used

21 by the websites, including usernames and any other identifiers that link the

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         In the final draft of these papers, Defendant claimed that Plaintiff’s position is a
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     “false narrative” that was invented today. It was after 8:00 pm that Defendant
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     made that accusation. Plaintiff strongly objects to it. Defendant should stop
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     splitting hairs and identify the owners and operators by name.
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 1 operations to specific individuals or entities. This information can be limited to

 2 username, email address, physical address, company name, and individual name if

 3 applicable. Plaintiff does not request credit card or login information, but it requires

 4 billing information for the website ownership and registrar, i.e., the email address,

 5 name(s), the IP address of user making payments to operate the website, the form of

 6 payment (credit card, wire, check, cash, zelle, crytocurrency, venmo, or otherwise).

 7          This is all standard information and covered by the revised proposed order
 8 submitted herewith as Plaintiff’s Exhibit 2.

 9          Further, Plaintiff here has already provided a settlement offer that would
10 resolve this matter, and Defendants promised a counteroffer that has not materialized

11 as promised. Clearly, any settlement would be on behalf of all Defendants.

12          B.     DISPUTES RELATED TO DISCOVERY
13          Nhentai.net’s Status Report: In conferring for purposes of this joint report,
14 it appears that Plaintiff intends to condition any agreement to shield the identity of

15 the entity that owns Nhentai.net on being permitted significant, highly improper

16 early discovery. Given the disagreement in this regard, Nhentai.net anticipates

17 immediately filing/re-urging motions for protective order and/or for the entity to

18 proceed anonymously/via a pseudonym in conjunction with answering or otherwise

19 responding to the Complaint. Nhentai.net also anticipates requesting entry of the

20 Court’s form Stipulated Protective Order with appropriate modifications for this case

21 (including potentially attorneys’ eyes only provisions) in the event the case proceeds

22 with regular discovery.

23          Further, in discussing issues relating to this joint report, counsel for Plaintiff
24 indicates its intent to persist in seeking early discovery, asking for unbounded

25 discovery from three separate nonparties including IP addresses, billing and account

26 information, and server logs (which are capable of identifying end users, despite
27 Plaintiff’s claim that they are not interested in such information). Plaintiff also states

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 1 its desire to issue pre-Rule 26(f) conference verified discovery, something Plaintiff

 2 did not even move the Court for in its Motion for Early Discovery (Dkt. No. 10).

 3 Nhentai.net opposes any such requests for the reasons stated in the briefing before

 4 the Court and during the October 30, 2024 hearing and asks the Court to deny the

 5 requested early discovery shown in Plaintiff’s new proposed order.

 6          Plaintiff PCR Distributing’s Status Report:        As stated, Plaintiff’s goal
 7 is the same as the Court’s: identify all Defendants and to serve them with process so

 8 that this matter can move forward.       In discussions since the October 30, 2024
 9 hearing, Plaintiff’s goal was to obtain the information – and no more -- that it knew

10 would achieve this goal. Again, it is important to note that Plaintiff is not seeking

11 login information of end users. It is seeking the log files that are kept on a server

12 when an operator, owner or authorized user is working “behind the scenes.” Log

13 files do not provide any information that would allow for control or operation of the

14 website or domain name; they are a record of what took place. Because copyright

15 pirates often obscure their tracks when they fear investigation, it is necessary to get

16 this information going back three years, which is also the statute of limitation under

17 the Copyright Act.

18          This information is not overbroad or overreaching. It is necessary to ensure
19 that what is obtained is reliable and accurate. To narrow and clarify the requests,

20 Plaintiff submits herewith a revised proposed order for its motion for early

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 1 discovery. (See Plaintiff’s Exhibit 2.) This revised Order removes references to

 2 anything that could be misconstrued as identifying end users or requesting

 3 information that would allow for control of the domains or servers.

 4

 5      DATED: November 13, 2024          Respectfully submitted,
 6

 7
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